      Case 4:22-cv-00531 Document 10 Filed on 04/08/22 in TXSD Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 MIDFIRST BANK,                                    §
                                                   §          Civil Action No. 4:22-cv-00531
           Plaintiff,                              §
                                                   §
 v.                                                §
                                                   §
 RICHARD L. YANCHUS, RICHARD                       §
 JOHN FRANK, and MICHELL RUTH                      §
 ZOLNIER,                                          §
                                                   §
           Defendants.                             §

               PLAINTIFF’S MOTION TO CONTINUE INITIAL CONFERENCE

          MidFirst Bank (“Plaintiff”), files this Motion to Continue Initial Conference (“Motion”)

and shows the Court as follows:

          1.     Plaintiff filed its Original Complaint (“Complaint”) on February 17, 2022,

asserting a cause of action for non-judicial foreclosure against Defendants Richard L. Yanchus,

Richard John Frank, and Michell Ruth Zolnier. [ECF Doc. No. 1].

          2.     Plaintiff has completed service on Defendants Richard Frank and Michell Ruth

Zolnier. [ECF Nos. 7 and 8].

          3.     However, Plaintiff is still completing service on Defendant Richard L. Yanchus.

Plaintiff is currently identifying potential alternative addresses to attempt service on Richard L.

Yanchus.

          4.     The Initial Conference for this matter is set for April 22, 2021, at 11:50 AM. [ECF

No. 5].

          5.     For these reasons, Plaintiff respectfully requests a continuance of the initial

conference by 60 days in order to successfully complete service on Defendant, Richard L. Yanchus



PLAINTIFF’S MOTION TO CONTINUE INITIAL CONFERENCE                                           PAGE 1
MWZM: 21-000178-365
        Case 4:22-cv-00531 Document 10 Filed on 04/08/22 in TXSD Page 2 of 3




to file the corresponding returns of service, and to allow the required time for all defendants to file

an answer.

         6.     The continuance is not sought for purposes of delay, but so that justice may be

done.

                                              PRAYER

         For these reasons, Plaintiff moves the Court to continue the initial conference for 60 days.

Plaintiff further requests all other relief to which it may be entitled.

                                                     Respectfully submitted,

                                                    By: /s/ Nicholas M. Frame
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                                                    ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S MOTION TO CONTINUE INITIAL CONFERENCE                                              PAGE 2
MWZM: 21-000178-365
      Case 4:22-cv-00531 Document 10 Filed on 04/08/22 in TXSD Page 3 of 3




                             CERTIFICATE OF CONFERENCE

        The undersigned certifies that on April 8, 2022, Plaintiff conferred with Defendant, Michell
Ruth Zolnier. Defendant, Michell Ruth Zolnier indicated that she was unopposed to relief sought
by this motion for continuance of initial conference.

                                                     /s/ Nicholas M. Frame
                                                     NICHOLAS M. FRAME


                                CERTIFICATE OF SERVICE

      The undersigned certifies that on April 8, 2022, a true and correct copy of the foregoing
document was delivered via U.S regular mail notification to the following parties:

       Michell Ruth Zolnier
       Defendant
       33110 Tall Oaks Way,
       Magnolia, TX 77354


                                                     /s/ Nicholas M. Frame
                                                     NICHOLAS M. FRAME




PLAINTIFF’S MOTION TO CONTINUE INITIAL CONFERENCE                                           PAGE 3
MWZM: 21-000178-365
